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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO.


 LAURA CASTRO,

       Plaintiff,

 v.

 FREDERICK J. HANNA & ASSOCIATES, P.C.,
 a Georgia Professional Corporation,

       Defendant.
 ____________________________________________/


                             COMPLAINT AND JURY DEMAND

 1.     Plaintiff alleges violations of the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et

       seq. (“FDCPA”).

                                    JURISDICTION AND VENUE

 2.    This Court has jurisdiction under the Fair Debt Collection Practices Act pursuant to 28

       U.S.C. §1331 and 15 U.S.C. §1692k.

 3.    Venue in this District is proper because Plaintiff resides here and Defendant conducts

       business in this District.

                                             PARTIES

 4.    Plaintiff, Laura Castro, (“Plaintiff”), is a natural person and citizen of the State of Florida,

       residing in Saint Lucie County, Florida.

 5.    Defendant, Frederick J. Hanna & Associates, P.C., (“Defendant”), is a Georgia

       Professional Corporation and law firm engaged in the business of collecting consumer


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       debts which operates from offices located at 7901 Southwest Sixth Court, Suite 310,

       Plantation, Florida 33324.

 6.    Defendant regularly engages in interstate commerce, reaching into the State of Florida

       using the mail and telephone in a business which attempts to collect consumer debts.

 7.    Defendant regularly uses the United States Postal Service and telephone in the collection

       of consumer debts.

 8.    Defendant regularly collects or attempts to collect, directly or indirectly, consumer-credit

       card debts on behalf of both credit-card issuers and debt buyers that purchase portfolios

       of defaulted credit-card debts. Defendant is therefore a “debt collector” as defined in 15

       U.S.C. §1692a(6).

 9.    At all times material to the allegations of this Complaint, Defendant was acting as a debt

       collector with respect to the collection of Plaintiff’s alleged debt.

                             FDCPA FACTUAL ALLEGATIONS

 10.   Defendant sought to collect a consumer debt from Plaintiff arising from an alleged

       delinquency on a credit-card account. The credit-card was not acquired for any

       commercial purpose. The debt was incurred primarily for personal, household or family

       purposes.

 11.   On or about January 16, 2015, Defendant mailed Plaintiff a letter in regard to an alleged

       debt owed by Plaintiff. (The “Notice” attached hereto as “Exhibit 1”).

 12.   The Notice states, in part:

              If you notify this office within thirty (30) days from receiving this
              notice that you dispute the validity of this debt or any portion
              thereof, this office will obtain verification of the debt or obtain a
              copy of a Judgment and mail you a copy of such Judgment or

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              verification. If you request within thirty (30) days after receiving
              this notice, this office will provide you with the name and address
              of the original creditor, if different from the current creditor.


 13.   The Notice was Defendant’s initial communication with Plaintiff with respect to the debt

       alleged therein.

 14.   15 U.S.C. §1692g(a) states:

                      Validation of debts.

                      (a) Notice of debt; contents. Within five days after the
              initial communication with a consumer in connection with the
              collection of any debt, a debt collector shall, unless the following
              information is contained in the initial communication or the
              consumer has paid the debt, send the consumer a written notice
              containing -

                      (1) the amount of the debt;
                      (2) the name of the creditor to whom the debt is owed;
                      (3) a statement that unless the consumer, within thirty days
                      after receipt of the notice, disputes the validity of the debt,
                      or any portion thereof, the debt will be assumed to be valid
                      by the debt collector;
                      (4) a statement that if the consumer notifies the debt
                      collector in writing within the thirty-day period that the
                      debt, or any portion thereof, is disputed, the debt collector
                      will obtain verification of the debt or a copy of a judgment
                      against the consumer and a copy of such verification or
                      judgment will be mailed to the consumer by the debt
                      collector; and
                      (5) a statement that, upon the consumer’s written request
                      within the thirty-day period, the debt collector will provide
                      the consumer with the name and address of the original
                      creditor, if different from the current creditor.

              (Emphasis added).

 15.   The language contained in the Notice is false and misleading.




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 16.   The Notice incorrectly omits request for verification of the debt to be in writing, despite

       the clear wording of 15 U.S.C. §1692g(a)(4).

 17.   The Notice incorrectly omits the writing requirement for requests of the name of the

       original creditor, despite the clear wording of 15 U.S.C. §1692g(a)(5).

 18.   15 U.S.C. §1692e (10) states:

                      A debt collector may not use any false, deceptive, or
                      misleading representation or means in connection with the
                      collection of any debt. Without limiting the general
                      application of the foregoing, the following conduct is a
                      violation of this section:

                                                    xxxx

                      (10) The use of any false representation or deceptive means
                      to collect or attempt to collect any debt or to obtain
                      information concerning a consumer.

 19.   Any potential bona fide error defense which relies upon Defendant’s mistaken

       interpretation of the legal duties imposed upon it by the FDCPA would fail as a matter of

       law.

                                           COUNT I

                VIOLATIONS OF 15 U.S.C. §§ 1692g(a)(4) and 1692g(a)(5)

 20.   Plaintiff re-alleges Paragraphs 1 through 19.

 21.   After an initial communication with Plaintiff pursuant to 15 U.S.C. §1692g(a)(4) the

       Defendant must provide the Plaintiff with:

                      [A] statement that if the consumer notifies the debt
                      collector in writing within the thirty-day period that the
                      debt, or any portion thereof, is disputed, the debt collector
                      will obtain verification of the debt or a copy of a judgment
                      against the consumer and a copy of such verification or


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                      judgment will be mailed to the consumer by the debt
                      collector;

              (Emphasis added).

 22.   After an initial communication with Plaintiff pursuant to 15 U.S.C.

       §1692g(a)(5), the Defendant must provide the Plaintiff with:

                      [A] statement that, upon the consumer’s written request
                      within the thirty-day period, the debt collector will provide
                      the consumer with the name and address of the original
                      creditor, if different from the current creditor.

              (Emphasis added).


 23.   Defendant sent a Notice to Plaintiff on behalf of Portfolio Recovery Associates, LLC, in

       an attempt to collect a debt, namely to collect the balance owed on a credit card.

 24.   The Notice was the initial communication between Defendant and Plaintiff or made

       within five days of the initial communication.

 25.   The wording included in the Notice is misleading and false as it incorrectly omits

       requests for verification of the debt to be in writing, despite the clear wording of 15

       U.S.C. §1692g(a)(4).

 26.   The wording included in the Notice is misleading and false as it incorrectly omits the

       writing requirement for requests of the name of the original creditor, despite the clear

       wording of 15 U.S.C. §1692g(a)(5)

 27.   As a result of Defendant’s conduct, Plaintiff is entitled to an award of statutory damages

       pursuant to 15 U.S.C. §1692k.

 28.   As a result of Defendant’s conduct, Plaintiff is entitled to an award of costs and

       attorney’s fees pursuant to 15 U.S.C. §1692k.

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                                               COUNT II

                                  VIOLATION OF 15 U.S.C. §1692e

 29.   Plaintiff re-alleges Paragraphs 1 through 19.

 30.   15 U.S.C. §1692e provides, in pertinent part:

                       A debt collector may not use any false, deceptive, or
                       misleading representation or means in connection with the
                       collection of any debt.

 31.   Pursuant to 15 U.S.C. §1692e, Defendant may not use any false, deceptive, or misleading

       representations in the Notice.

 32.   Defendant’s Notice was a communication between Defendant and Plaintiff used in an

       attempt to collect a debt and misrepresents section 15 U.S.C. §1692g(a) of the FDCPA,

       by omitting requests for verification of the debt be in writing, despite the clear wording of

       15 U.S.C. §1692g(a)(4).

 33.   Defendant’s Notice incorrectly omits the writing requirement for requests of the name of

       the original creditor, despite the clear wording of 15 U.S.C. §1692g(a)(5).

 34.   Defendant’s Notice would be deceptive to the least sophisticated consumer with regard to

       his/her legal rights.

 35.   Defendant, through its agents, representative and/or employees acting within the scope of

       their authority acted willfully and intentionally violated 15 U.S.C. §1692e.

 36.   As a result of Defendant’s conduct, Plaintiff is entitled to an award of statutory damages

       pursuant to 15 U.S.C. §1692k.

 37.   As a result of Defendant’s conduct, Plaintiff is entitled to an award of costs and

       attorney’s fees pursuant to 15 U.S.C. §1692k.

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                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff prays for the following relief:

               a. An award of statutory damages for Plaintiff pursuant to 15 U.S.C. §1692k;

               b. Attorney’s fees, litigation expenses and costs of the instant suit; and

               c. Such other and further relief as the Court deems proper.



                                       JURY DEMAND

        Plaintiff demands a trial by jury.

 Dated: June 29, 2015

                                                      Respectfully submitted,


                                                      /s/ Leo W. Desmond
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